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AO 91 (Rev. l 111 i) Cn`minal Complaint

UNITED STATES DISTRICT CoURT

for the

Southern Dist!‘ict of Ohio

 

 

United States of America )
v. ) . ..
) CaseNo. 2 l%/"‘\\"Ol:l
)
Gerald A. LAWSON §
)
Defendant(s}
CRIMINAL COMPLAINT
l, the complainant in this case, State that the following is true to the best of my knowledge and belief.
On or about the date(S) of Februal'y 10, 2018 in the county of Frank|in in the
Southern District of OhiO , the defendant($) violated:
Code Sectz`on O]j”em'e Descriptz'on
18 U.S.C. §§ 2(a) & 922(9)(‘|) Aiding and abetting the possession of a firearm and/or ammunition by a

prohibited person, in violation of Tit|e 18, United States Code,
Sections 2(a) and 922(9)(1).

This criminal complaint is based on these facts:

See Attachment A (aftidavit), incorporated herein by reference

d Continued on the attached sheet. \j-
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\éomplainani s signature

Teresa Petit, ATF Specia| Agent

Prr'n!ed name and title

 

Sworn to before me and Signed in my presence

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Mdger|/ s signature

City andstate: E(UL]&Z}L’ ‘Q% ill lb lgll ll
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ATTACHMENT A

I, Teresa Petit, being duly sworn, depose and state that:

I have been a Special Agent (SA), with the United States Department of Justice, Bureau of Alcohol, Tobacco,
Firearms and Explosives (ATF) since May of 2014. I am a graduate of the ATF National Academy Special Agent
Basic Training Program and the Federal Law Enforcement Training Center, Criminal lnvestigator Training Program.
As a result of my training and experience as an ATF Special Agent, l am familiar with Federal criminal laws
pertaining to firearms violations As a Special Agent, lam also authorized to carry firearms, execute warrants, make
arrests for offenses against the United States1 and perform other such duties as authorized by law.

l.

This affidavit is made in support of a criminal complaint against Gerald A. LAWSON (DOB: 2/17/1987`) for
aiding and abetting a prohibited individual in possession of a firearm, in violation of Title 18, United States
Code, Section 2(a), for the underlying crime of possession of a firearm and/or ammunition by a convicted
felon, in violation of Title 18, United States Code, Section 922(g)(l). The statements in this affidavit are
based upon my training and experience, consultation with other experienced investigators and agents, review
of related documents and other sources of information relative to firearms investigations This affidavit is
intended to set forth probable cause in support of the criminal complaint and does not purport to set forth all
of my knowledge regarding this investigation l did not, however, withhold any information or evidence that
would negate probable cause

On February l(), 2018, Westerville Police Officers Anthony l\/lorelli and Eric Joering responded to the address
of 312 Cross Wind Drive, Westerville, Ohio (in the Southern District of Ohio), for a disturbance call. Upon
arriving at the location, both Officers l\/lorelli and Joering were confronted by Quentin L. Sl\/llTH
(DOB: 2/23/1987"), who was armed with a Glock manufactured, model 27 Generation 4, .40 caliber, semi-
automatic handgun, bearing serial number BBGF164. During the confrontation with SMITH, both Officer
Morelli and Officer Joering sustained life threatening injuries, and both officers later succumbed to those
injuries SM]TH was transported to a local hospital Where he remains at this time.

lnvestigators recovered the aforementioned firearm from 312 Cross Wind Drive, Westerville, Ohio.

SMITH is prohibited from purchasing or possessing a firearm or ammunition under Title 18, United States
Code, Section 922(g)(l). SMITH was convicted by the Cuyahoga County Court of Common Pleas for the
offense of Burglary, case number CR-08-51?866-A, a felony of the second degree with a firearm
specification SMITH was sentenced to the Ohio Department of Rehabilitation and Corrections for a two (2)
year period of incarceration The offense for which SM]TH was convicted is punishable by imprisonment
for a term exceeding one year.

On February 101 2018, an undisclosed witness stated that SMlTH provided LAWSON with the money to
purchase the Glock firearm, bearing serial number BBGF164, and an additional $lOO for completing the
transaction Additionally, the witness stated the firearm was purchased from a federally licensed firearms
dealer (FFL) located in the area of Cleveland, Ohio, on Northfield Road. Specifically the witness could not
recall the full name of the FFL but stated it was “something Gun and Tackle,” That witness also stated
LAWSON knew that SMlTl-I could not lawfully purchase or possess a firearm, further stating that LAWSON
visited Sl\/Il'TH while he was in custody.

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11.

12.

In my training and experience, it is common for individuals who are prohibited from purchasing or possessing
a firearm to use a straw purchaser to complete the retail transaction on their behalf or to acquire firearms from
other unlicensed individuals It is also common for straw purchasers to receive a benefit of some type, in this
situation, a monetary benefit, to assume the risk of purchasing the firearm More specifically a “straw”
purchase is described as the acquisition of a firearm(s) from a dealer by an individual (the “straw”), done for
the purpose of concealing the identity of the true intended receiver of the firearm(s).

Investigators learned that LAWSON and SMlTH have a long history of friendship A review of LAWSON’s
social media account after the incident on February 10, 2018, revealed a post by LAWSON displaying three
(3) photographs containing both individuals together The comment by LAWSON associated with the post
also referenced the long-standing friendship between the two. Prior to the post being deleted from
LAWSON’s social media account, l was able to capture screenshot images of the post.

On February 1 1, 2018, I conducted a query of the National Crime lnformation Center (NCIC) to determine
if the firearm was reported stolen. There was no record of the serial number located and, therefore, it is
believed that the firearm was not reported to be stolen.

On February 1 l, 2018, ATF SA J ames Bajus determined, based on the description of the G|ock manufactured,
model 27 Generation 4, .40 caliber, senn-automatic pistol, bearing serial number BBGF164, that the firearm
was not manufactured in the State of Ohio and would have affected interstate and/or foreign commerce to
arrive in Ohio.

On February 12, 2018, ATF received the firearm trace results from the National Tracing Center. Those results
indicated that on MaylS, 2017, the aforementioned firearm was purchased by LAWSON from an FFL
registered in the name of Semi-Arms, lnc., doing business as Stonewall Gun Shop and Range, located at
100 Ken-Mar industrial Parkway, Broadview Heights, Ohio 44147. The ATF Firearms Transaction Record
contains LAWSON’s identifying information, the documented firearm, and his signature

LAWSON is further described as a male, black, date of birth February 17, 1987, 6’2” tall, 130 pounds, with
a last known address of 4653 Walford Road Apartment 16, Warrensville Heights, OH, 44128.

Based upon the aforementioned information and events and your affiant’s training and experience in dealing
with Federal firearms violations your affiant believes that probable cause exists to believe that on or before
February 10, 2013, Gerald A. LAWSON knew or had cause to know that SMITH was a prohibited person
and did aid and abet Quentin L. Sl\/llTH by providing a previously convicted felon a firearm which was not
manufactured in the State of Ohio and therefore travelled in and/or affected interstate commerce, in violation
of Title 18, United States Code, Section 2(a), for an underlying violation of Title 18, United States Code,
Section 922(g)(1).

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Teresa Petit, ATF Special Agent

Sworn to before me and signed in my presence

 

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Kimberly A. Jolson Date

U.S. Magistrate Judge

